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12                          IN THE UNITED STATES DISTRICT COURT
13                                FOR THE DISTRICT OF NEVADA
14   PAUL TUTTOBENE,                                  Case No. 2:19-cv-01999-APG-NJK
15                         Plaintiff,                STIPULATION AND ORDER EXTENDING
     v.                                              THE PARTIES’ TIME TO FILE
16                                                   RESPONSES TO THE PENDING
     TRANS UNION, LLC and NEW                        MOTIONS FOR SUMMARY JUDGMENT
17   AMERICAN FUNDING,
                                                     (SECOND REQUEST)
18                          Defendants.

19

20
            Plaintiff Paul Tuttobene (“Plaintiff”) and Defendant Trans Union LLC (“Trans Union”),
21
     by and through their respective counsel, file this their Stipulation Extending the Parties’ Time to
22
     File their Responses to the pending Motions for Summary Judgment.
23
            On October 7, 2020, Plaintiff filed his Motion for Summary Judgment (Dkt. 28) and
24
     Trans Union also filed its Motion for Summary Judgment (Dkt. 31). On October 23, 2020, the
25
     parties stipulated to extend the response deadline to each motion for fourteen (14) days, which
26
     the Court approved, making the current deadline for each party’s response November 11, 2020.
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     The parties did not anticipate that this date landed on a federal holiday, i.e., Veteran’s Day.
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 1   Given that the parties have each filed dispositive motions, the parties now request an additional

 2   extension of three (3) days to file their respective responses up to and including November 16,

 3   2020. The current deadline has not yet expired.

 4          Accordingly, the parties hereby stipulate to extend the deadline for Trans Union and

 5   Plaintiff to file their respective responses to the other’s Motion for Summary Judgment for three

 6   (3) days up to and including November 16, 2020.

 7   DATED: November 6, 2020
 8

 9
     KIND LAW                                          QUILLING, SELANDER, LOWNDS,
10                                                     WINSLETT & MOSER, P.C.

11    /s/ Michael Kind                                 /s/ Jennifer Bergh
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19                                                     Counsel for Trans Union LLC
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21

22   ORDER
23   IT IS SO ORDERED:
24

25   UNITED STATES DISTRICT JUDGE

26
              November 9, 2020
     DATED: _________________________________
27

28


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